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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

IN RE:                                                   §
                                                         §
LOCKWOOD HOLDINGS, INC., et al., 1                       §                       Case No. 18-30197(DRJ)
                                                         §                       (Chapter 11)
                                                         §                       (Jointly Administered)
        DEBTORS.                                         §

    ORDER GRANTING WELLS FARGO EQUIPMENT FINANCE'S MOTION FOR
     RELIEF FROM THE AUTOMATIC STAY PURSUANT TO 11 U.S.C. § 362(d)
                 [This instrument relates to Docket No. _____]

        This matter comes before the Court on the Motion for Relief from the Automatic Stay

Pursuant to 11 U.S.C. § 362(d) [Docket No. _____] (the "Motion") filed by Wells Fargo

Equipment Finance, Inc. ("WFEF").               The Court, having reviewed the Motion and having

considered the statements of counsel at a final hearing before the Court (the "Hearing"), if any,

finds that: (a) this Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334;

(b) this matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A), (G), and (O); and, (c)

notices of the Motion and the Hearing were sufficient under the circumstances.                            Having

considered the evidence, arguments of counsel, and responses, if any, this Court is of the opinion

that the Motion is meritorious and establishes sufficient grounds for the relief requested therein.

        ACCORDINGLY, IT IS HEREBY ORDERED THAT: 2

        1.       The Motion is GRANTED.

        2.       The automatic stay is terminated, pursuant to 11 U.S.C. § 362(d)(1) and (d)(2) as

it relates to WFEF's interests in the following property: (1) Aviation’s Embraer model EMB-550

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 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number are: Lockwood Holdings, Inc. (9726); LH Aviation, LLC (6984); Piping Components, Inc. (0197);
Lockwood International, Inc. (8597); Lockwood Enterprises, Inc. (6504); LMG Manufacturing, Inc. (9468); and
7807 Eagle Lane, LLC (7382) (collectively, the "Debtors").
2
  Unless otherwise noted herein, all undefined capitalized terms appearing in this Order shall have the meaning(s)
ascribed to such terms as set forth in the Motion.

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aircraft bearing serial number 55000007 and United States registration number N424ML; (2) two

Honeywell model AS907-3-1E aircraft engines bearing serial numbers P131125 and P131124;

and, (3) the ancillary, related parts pertaining to the foregoing (collectively, the "Aircraft

Collateral").

         3.        WFEF is hereby permitted to take any and all actions to enforce its rights and

remedies available under the Loan Documents and applicable law relating to the Aircraft

Collateral, including, without limitation, immediately taking possession of and liquidating the

Aircraft Collateral.

         4.        The fourteen-day stay provided under Federal Rule of Bankruptcy Procedure

4001(a)(3) shall not apply.

         5.        This Court shall retain exclusive jurisdiction to enforce the terms of this Order.

         6.        This Order is a Final Order within the meaning of 28 U.S.C. § 158(a)(1) and is

effective immediately upon entry.


         ZZZZ




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